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EXHIBIT 1
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AG 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of
‘Briefly describe the property to be searched
On ie the person by wee and address)
The premises located at 529 Harrison Avenue, Orange
Park, Florida 32065, as further described in
, Attachment A

Case No. saamiOGCrdll.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

the premises located at 529 Harrison Avenue, Orange Park, Florida 32065, as further described in Attachment A.

located inthe _ Middle District of Florida , there is now concealed (identify the
person or describe the property to be seized):

 

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a‘crime;
tf contraband, fruits of crime, or other items illegally possessed;
‘of property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. §§ 2252 & 2252A Transportation, distribution, receipt, and possession of child pornography

The application is based on these facts:

See attached affidavit.

of Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

od Vapplicant 's. signature

Ashley Wilson, HSI Special Agent

Printed name and title

Sworn to before me and signed in my presence.

UL 2022 @ID.A2 Luin Cotsen @ CbtE

Judge's signature

 

Date: belovir

  

 

City and state: Jacksonville, Florida Laura Lothman Lambert, United States Magistrate Judge
Printed name and title

 
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AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT

I, Ashley Wilson, being duly sworn, hereby state as follows:

1. Tam a Special Agent (SA) with Immigration and Customs Enforcement (ICE),
Homeland Security Investigations (HSI), an agency of the United States Department of
Homeland Security (DHS), and have been so employed since October 2007. I am currently
assigned to the Office of the Assistant Special Agent in Charge Jacksonville, Florida, where
I conduct a variety of investigations. Prior to this assignment, I was assigned to the Office
of the Deputy Special Agent in Charge Laredo, Texas, for approximately 6 years also as a
Special Agent. I have a bachelor’s degree in Criminal Justice. I am a law enforcement officer
of the United States and am thus authorized. by law to engage in or supervise the prevention,
detection, investigation, or prosecution of violations of federal criminal law. I am
responsible for enforcing federal criminal statutes under the jurisdiction of HSI, including
violations of law involving the exploitation of children. I participated in a 22-week training
program at the Federal Law Enforcement Training Center in Brunswick, Georgia, which
included the Criminal Investigator Training Program and ICE Special Agent Training. In
my capacity as a Special Agent, I have participated in numerous types of investigations,
during which I conducted or participated in physical surveillance, undercover transactions
and operations, historical investigations, and other complex investigations. Since becoming
a Special Agent, I have worked with experienced Special Agents and state and local law
enforcement officers who also investigate child exploitation offenses.

2. I have investigated and assisted in the investigation of criminal matters

involving the sexual exploitation of children that constituted violations of 18 U.S.C. §§

 
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2251, 2252, 2252A, 2422, and 2423, as well as Florida state statutes that criminalize sexual
activity with minors and other methods of child sexual exploitation. In connection with
such investigations, I have served as the case agent and have served as an undercover agent
in online child exploitation cases. During the course of my investigations, I have worked
closely with members of the local child exploitation task force comprised of agents and
officers, from HSI, the Federal Bureau of Investigation (FBI), the Florida Department of
Law Enforcement (FDLE), the Jacksonville Sheriff's Office (JSO), the St. Johns County
Sheriff's Office (SJSO), and the Clay County Sheriff's Office (CCSO), among other agencies.
These agencies routinely share information involving the characteristics of child sex
offenders as well as investigative techniques and leads. As a federal agent, I am authorized
to investigate and assist in the prosecution of violations of laws of the United States, and to
execute search warrants and arrest warrants issued by federal and state courts.

3, This affidavit is based upon my personal knowledge, experience, and training,
as well as other information developed during the course of this investigation. Because this
affidavit is being submitted for the limited purpose of establishing probable cause and
securing a search warrant, I have not included each and every fact known to me concerning
this investigation. I have set forth only the facts that I believe are necessary to establish
probable cause to believe that contraband, fruits, instrumentalities, other items illegally
possessed, and evidence of violations of 18 U.S.C. §§ 2252 and/or 2252A, are present in the
location to be searched.

4, I am requesting authority to search the residence specifically identified in

Attachment A, which includes the physical structure, as well as any computer and computer
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media and electronic storage devices located therein. I also request to seize any and all items
listed in Attachment B as instrumentalities, fruits, and/ or evidence of criminal activity
specified herein.

STATUTORY AUTHORITY

5. This investigation concerns alleged violations of 18 U.S.C. §§ 2252 and
2252A, relating to material involving the sexual exploitation of minors. Based upon my
training and experience, as well as conversations with other experienced law enforcement
officers, computer forensic examiners, and federal prosecutors, I know the following:

a. 18 U.S.C. § 2252(a) in pertinent part prohibits a person from knowingly
transporting, shipping, receiving, distributing, reproducing for distribution, possessing, or
accessing with intent to view any visual depiction of minors engaging in sexually explicit
conduct using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce, including by computer or mails,

b. 18 U.S.C. § 2252A(a) in pertinent part prohibits a person from
knowingly transporting, shipping, receiving, distributing, reproducing for distribution,
possessing, or accessing with intent to view any child pornography, as defined in 18 U.S.C.
§ 2256(8), using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce, including by computer.

c. 18 U.S.C. § 2252(a)(1) prohibits a person from knowingly transporting
or shipping using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce, including by computer or mails, any visual depiction of

minors engaging in sexually explicit conduct. Under 18 U.S.C. § 2252(a)(2), it is a federal
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crime for any person to knowingly receive or distribute, by any means including by
computer, any visual depiction of minors engaging in sexually explicit conduct using any
means or facility of interstate or foreign commerce or that has been mailed or shipped or
transported in or affecting interstate or foreign commerce. That section also makes it a
federal crime for any person to knowingly reproduce any visual depiction of minors
engaging in sexually explicit conduct for distribution using any means or facility of interstate
or foreign commerce or in or affecting interstate or foreign commerce or through the mails.
Under 18 U.S.C. § 2252(a)(4), it is also a crime for a person to knowingly possess or
knowingly access with intent to view, one or more books, magazines, periodicals, films, or
other materials which contain visual depictions of minors engaged in sexually explicit
conduct that have been mailed, or have been shipped or transported using any means or
facility of interstate or foreign commerce or in and affecting interstate or foreign commerce,
or which were produced using materials which have been mailed or so shipped or
transported, by any means including by computer.

d. 18 U.S.C. § 2252A(a)(1) prohibits a person from knowingly mailing,
transporting, or shipping using any means or facility of interstate or foreign commerce or in
or affecting interstate or foreign commerce by any means, including by computer, any child
pornography. 18 U.S.C. § 2252A(a)(2) prohibits a person from knowingly receiving or
distributing any child pornography that has been mailed or shipped or transported using
any means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce by any means, including by computer. 18 U.S.C. § 2252A(a)(3) prohibits a

person from knowingly reproducing child pornography for distribution through the mails -
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or in or affecting interstate or foreign commerce by any means, including by computer. 18
U.S.C. §.2252A(a)(5)(B) prohibits a person from knowingly possessing or knowingly
accessing with intent to view any book, magazine, periodical, film, videotape, computer
disk, or other material that contains an image of child pornography that has been mailed,
or shipped or transported using any means or facility of interstate or foreign commerce or
in or affecting interstate or foreign commerce by any means, including by computer, or that
was produced using materials that have been mailed, or shipped or transported using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce by any means, including by computer.
DEFINITIONS
6. The following definitions apply to this Affidavit:

a. “Child erotica,” as used herein, means materials or items that are
sexually arousing to persons having a sexual interest in minors but that are not, in and of
themselves, illegal or that do not necessarily depict minors in sexually explicit poses or
positions.

b. “Child pornography,” as used herein, includes the definitions in 18
U.S.C. §§ 2256(8) and 2256(9) (any visual depiction of sexually explicit conduct where (a)
the production of the visual depiction involved the use of a minor engaged in sexually
explicit conduct, (b) the visual depiction is a digital image, computer image, or computer
generated image that is, or is indistinguishable from, that of a minor engaged in sexually
explicit conduct, or (c) the visual depiction has been created, adapted, or modified to appear

that an identifiable minor is engaged in sexually explicit conduct), See 18 U.S.C. §§ 2252
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and 2256(2).

C. “Visual depictions” include undeveloped film and videotape, data
stored on computer disk or by electronic means which is capable of conversion into a visual
image, and data which is capable of conversion into a visual image that has been transmitted
by any means, whether or not stored in permanent format, See 18 U.S.C. § 2256(5).

d, “Sexually explicit conduct” means actual or simulated (a) sexual
intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal, whether
between persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any persons.
See 18 U.S.C. § 2256(2).

e. “Computer,” as used herein, is defined pursuant to 18 U.S.C. §
1030(e)(1), as “an electronic, magnetic, optical, electrochemical, or other high speed data
processing device performing logical, arithmetic or storage functions, and includes any data
storage facility or communications facility directly related to or operating in conjunction
with such device.”

f. “Computer hardware,” as used herein, consists of all equipment which
can receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit
electronic, magnetic, or similar computer impulses or data. Computer hardware includes
any data processing devices (including, but not limited to, central processing units, internal
and peripheral storage devices such as fixed disks, external hard drives, floppy disk drives
and diskettes, and other memory storage devices); peripheral input/output devices

(including, but not limited to, keyboards, printers, video display monitors, and related
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communications devices such as cables and connections), as well as any devices,
mechanisms, or parts that can be used to restrict access to computer hardware (including,
but not limited to, physical keys and locks).

g. “Computer software,” as used herein, is digital information which can
be interpreted by a computer and any of its related components to direct the way they work.
Computer software is stored in electronic, magnetic, or other digital form. It commonly
includes programs to run operating systems, applications, and utilities. ‘

h. The terms “records,” “documents,” and “materials,” as used herein,
include all information recorded in any form, visual or aural, and by any means, whether
in handmade form (including, but not limited to, writings, drawings, paintings),
photographic form (including, but not limited to, microfilm, microfiche, prints,. slides,
negatives, videotapes, motion pictures, photocopies), mechanical form (including, but not
limited to, phonograph records, printing, typing) or electrical, electronic or magnetic form
(including, but not limited to, tape recordings, cassettes, compact discs, electronic or
magnetic storage devices such as floppy diskettes, hard disks, CD-ROMs, digital video disks
(DVDs), personal digital assistants (PDAs), multimedia cards (MMCs), memory sticks,
optical disks, printer buffers, smart cards, memory calculators, electronic dialers, or
electronic notebooks, as well as digital data files and printouts or readouts from any
magnetic, electrical or electronic storage device).

i. “Computer passwords and data security devices,” as used herein,
consist of information or items designed to restrict access to or hide computer software,

documentation, or data. Data security devices may consist of hardware, software, or other
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programming code. A password (a string of alpha numeric characters) usually operates a
sort of digital key to “unlock” particular data security devices. Data security hardware may
include encryption devices, chips, and circuit boards. Digitally coded data security software
may include programming code that creates “test” keys or “hot” keys, which perform
certain pre-set security functions when touched. Data security software or code may also
encrypt, compress, hide, or “boobytrap” protected data to make it inaccessible or unusable,
as well as reverse the progress to restore it.

j. “Internet Protocol address” or “IP address” refers to a unique number
used by a computer to access the Internet and is associated with a physical address. IP
addresses can be dynamic, meaning that the Internet Service Provider (ISP) may assign a

-unique and different number to a computer at different times that it accesses the Internet.
IP addresses might also be static, if an ISP assigns a user’s computer a particular IP address
which is used each time the computer accesses the Internet.

k. “Wireless telephone” (or mobile telephone, or cellular telephone) is a
handheld wireless device used for voice and data communication through radio signals.
These telephones send signals through networks of transmitter/receivers, enabling
communication with other wireless telephones or traditional “land line” telephones. A
wireless telephone usually contains a “call log,” which records the telephone number, date,
and time of calls made to and from the phone. In addition to enabling voice
communications, wireless telephones offer a broad range of capabilities. These capabilities
include: storing names and phone numbers in electronic “address books;” sending,

receiving, and storing text messages and e-mail; taking, sending, receiving, and storing still
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photographs and moving video; storing and playing back audio files; storing dates,
appointments, and other information on personal calendars; and accessing and
_ downloading information from the Internet. Wireless telephones may also include global
. positioning system (“GPS”) technology for determining the location of the device. Many
wireless telephones are minicomputers or “smart phones” with immense storage capacity.

L, A “smart phone” is a portable device that combines mobile telephone
and computing functions into one unit. They are distinguished from feature phones (mobile
telephone with minimal features) by their stronger hardware capabilities and extensive
mobile operating systems, which facilitate wider software, Internet (including web browsing
over mobile broadband), and multimedia functionality (including music, video, cameras,
and gaming), alongside core phone functions such as voice calls and text messaging.

m, A “digital camera” is a camera that records pictures as digital picture
files, rather than by using photographic film. Digital cameras use a variety of fixed and
removable storage media to store their recorded images. Images can usually be retrieved by
connecting the camera to a computer or by connecting the removable storage medium to a
separate reader. Removable storage media include various types of flash memory cards or
miniature hard drives. Most digital cameras also include a screen for viewing the stored
images. This storage media can contain any digital data, including data unrelated to
photographs or videos.

n. A portable media player (or “MP3 Player” or iPod) is a handheld digital
storage device designed primarily to store and play audio, video, or photographic files.

However, a portable media player can also store other digital data. Some portable media
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players can use removable storage media. Removable storage media include various types
of flash memory cards or miniature hard drives. This removable storage media can also
store any digital data. Depending on the model, a portable media player may have the
ability to store very large amounts of electronic data and may offer additional features such
as a calendar, contact list, clock, or games.

0. Individuals often use a Virtual Private Network (VPN) in an attempt to remain
anonymous while connected to the Internet. A VPN is typically a paid service that keeps an
individual’s web browsing secure and private. In some cases, VPNs can get past regional
restrictions for various video and music-streaming sites and help individuals evade
government censorship restrictions. Based on my training and experience, and
conversations with other law enforcement officers, a VPN can also be used by individuals
involved in illegal activity on the Internet to avoid being detected by law enforcement. A
VPN can be thought of as a secure tunnel between a user’s computer, or any other internet-
enabled device, and the destinations a user visits on the Internet. The user’s computer, or
other internet-enabled device, connects to a VPN server, which can be located in the United
States or any other foreign country. The VPN user’s activity on the Internet is then passed
back and forth through that specific server, and as a result, it appears the user is browsing
the Internet from that server’s geographical location instead of the user’s actual computer

or internet-enable device.

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COMPUTERS AND CHILD PORNOGRAPHY

7. Based upon my training and experience, as well as conversations with other
experienced law enforcement officers and computer forensic examiners, I know that
computers and computer technology have revolutionized the way in which individuals
interested in child pornography interact with each other. In the past, child porno graphy was
produced using cameras and film (either still photography or movies). The photographs
required darkroom facilities and significant skill to develop and reproduce the images. There
were definable costs involved with the production of pornographic images, and to distribute
these images on any scale required significant resources and significant risks. The
photographs themselves were somewhat bulky and required secure storage to prevent their
exposure to the public and/or law enforcement. The distribution of these wares was
accomplished through a combination of personal contacts, mailings, and telephone calls.

8. The development of computers has radically changed the way that child
pornographers manufacture, obtain, distribute, and store their contraband. Computers
basically serve five functions in connection with child pornography: access, production,
communication, distribution, and storage.

9. Child pornographers can now convert paper photographs taken with a
traditional camera (using ordinary film) into a computer readable format with a device
known as a scanner. Moreover, with the advent, proliferation and widespread use of digital
cameras, images and videos can now be transferred directly from a digital camera onto a
computer using a connection known as a USB cable or other device. Digital cameras, as

well as “smart” phones such as the Android device, have the capacity to store images and
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videos indefinitely, and memory storage cards used in these cameras are capable of holding
hundreds of images and videos. A device known as a modem allows any computer to
connect to another computer through the use of telephone, cable, or wireless connection.
Electronic contact can be made to literally millions of computers around the world.

10. The computer’s ability to store images in digital form makes the computer
itself an ideal repository for child pornography. The size of the electronic storage media,
that is, the hard disk drive used in home computers has grown tremendously within the last
several years. These hard disk drives can store hundreds of thousands of images at very high
resolution.

11. The World Wide Web of the Internet affords collectors of child pornography
several different venues for obtaining, viewing and trading child pornography in a relatively
secure and anonymous fashion.

12. Collectors and distributors of child pornography frequently use online
resources to retrieve and store child pornography, including services offered by Internet
portals such as Yahoo!, Hotmail, and Google, among others. The online services allow a
user to set up an account with a remote computing service that provides email services as
well as electronic storage of computer files in any variety of formats. A user can set up an
online storage account from any computer with access to the Internet. Evidence of such
online storage of child pornography is often found on the user’s computer. Even in cases
where online storage is used, however, evidence of child pornography can be found on the
user’s computer in most cases.

13. As is the case with most digital technology, communication by way of
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computer can be saved or stored on the computer used for these purposes. Storing this .
information can be intentional, i.e., by saving an email as a file on the computer or saving
particular website locations in, for example, “bookmarked” files. Digital information,
.images and videos can also be retained unintentionally, e.g., traces of the path of an
electronic communication may be automatically stored in many places (e.g., temporary files
or ISP client software, among others). Often, a computer will automatically save transcripts
or logs of electronic communications between its user and other users that have occurred
over the Internet. These logs are commonly referred to as “chat logs.” Some programs allow
computer users to trade images while simultaneously engaging in electronic
communications with each other. This is often referred to as “chatting,” or “instant
messaging.” Based upon my training and experience, as well as conversations with other
law enforcement officers and computer forensic examiners, I know that these electronic
“chat logs” often have great evidentiary value in child pornography investigations, as they
can record communication in transcript form, often show the date and time of such
communication, and also may show the dates and times when images of child pornography
were traded over the Internet. In addition to electronic communications, a computer user’s
internet activities generally leave traces or “footprints” in the web cache and history files of
the browser used. A forensic examiner often can recover evidence suggesting whether a
computer contains peer-to-peer software, when the computer was sharing files, and some of
the files which were uploaded or downloaded. Such information is often maintained on a

computer for long periods of time until overwritten by other data.

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SEARCH AND SEIZURE OF COMPUTER SYSTEMS

14. Based upon my training and experience, as well as conversations with other
experienced law enforcement officers, I know that searches and seizures of evidence from .
computers commonly require agents to download or copy information from the computers
and their components, or seize most or all computer items (computer hardware, computer
software, and computer related documentation) to be processed later by a qualified
computer expert in a laboratory or other controlled environment. This is almost always true
because of the following:

a. Computer storage devices (e.g., hard drives, compact disks (“CDs”),
diskettes, tapes, and others) can store the equivalent of thousands of pages of information.
Especially when the user wants to conceal criminal evidence, he or she often stores it in
random order with deceptive file names. This requires searching authorities to examine all
the stored data to determine whether it is included in the warrant. This sorting process can
take days or weeks, depending on the volume of data stored, and it would be generally
impossible to accomplish this kind of data search on site.

b. Searching computer systems for. criminal evidence is a highly technical
process requiring expert skill and a properly controlled environment. The vast array of
computer hardware and software available requires even computer experts to specialize in
some systems and applications, so it is difficult to know before a search which expert should
analyze the system and its data. The search of a computer system, which includes the use
of data search protocols, is an exacting scientific procedure which is designed to protect the

integrity of the evidence and to recover hidden, erased, compressed, password protected, or
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encrypted files. Since computer evidence is extremely vulnerable to tampering or
destruction (which may be caused by malicious code or normal activities of an operating
system), the controlled environment of a laboratory is essential to its complete and accurate
analysis. Based on my training and experience, as well as conversations with other law
enforcement officers and computer forensic examiners, I know that computer forensic
techniques can often recover files, including images and videos of child pornography, that
have long been “deleted” from computer media by a computer user.
CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

15. Based on my experience, training, and conversations with other experienced
agents who investigate cases involving the sexual exploitation of children, I know that
certain common characteristics are often present in individuals who collect child
pornography. I have observed and/or learned about the reliability of these commonalities
and conclusions involving individuals who collect, produce and trade images of child
pornography. Based upon my training and experience, and conversations with other
experienced agents who investigate cases involving the sexual exploitation of children, I
know that the following traits and characteristics are often present in individuals who collect
child pornography:

a. Many individuals who traffic in and trade images of child pornography

also collect child pornography. Many individuals who collect child pornography have a
sexual attraction to children. They receive sexual gratification and satisfaction from sexual
fantasies fueled by sexually explicit depictions of children.

b. Many individuals who collect child pornography also collect other
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sexually explicit materials, which may consist of photographs, magazines, motion pictures,
video tapes, books, slides, computer graphics or digital or other images for their own sexual
gratification. Many of these individuals also collect child erotica, which may consist of
images or text that do not meet the legal definition of child pornography but which
nonetheless fuel their deviant sexual fantasies involving children.

C, Many individuals who collect child pornography often seek out like-
minded individuals, either in person or on the Internet, to share information and trade
depictions of child pornography and child erotica as a means of gaining status, trust,
acceptance, and support. This contact also helps these individuals to rationalize and validate
their deviant sexual interest in children and associated behavior. The different Internet
based vehicles used by such individuals to communicate with each other include, but are
not limited to, Peer-to-Peer (P2P), email, email groups, bulletin boards, Internet Relay Chat
Rooms (IRC), newsgroups, instant messaging, and other similar vehicles.

d. Some individuals who collect child pornography maintain books,
magazines, newspapers and other writings (which may be written by the collector), in hard
copy or digital medium, on the subject of sexual activities with children as a way of
understanding their own feelings toward children, justifying those feelings and finding
comfort for their illicit behavior and desires. Such individuals often do not destroy these
materials because of the psychological support that they provide.

e. Some individuals who collect child pornography often collect, read,
copy or maintain names, addresses (including email addresses), phone numbers, or lists of

persons who have advertised or otherwise made known in publications and on the Internet
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that they have similar sexual interests, These contacts are maintained as a means of personal
referral, exchange, or commercial profit. These names may be maintained in the original
medium from which they were derived, in telephone books or notebooks, on computer
storage devices, or merely on scraps of paper.

f. Many individuals who collect child pornography rarely, if ever, dispose
of their sexually explicit materials and may go to great lengths to conceal and protect them
from discovery, theft, or damage. These individuals view their sexually explicit materials as
prized and valuable materials, even as commodities to be traded with other like-minded
individuals over the Internet. As such, they tend to maintain or “hoard” their visual
depictions of child pornography for long periods of time in the privacy and security of their
homes or other secure locations. These individuals may protect their illicit materials by
passwords, encryption, and other security measures; save it on movable media such as CDs,
DVDs, flash memory, thumb drives, and removable hard drives, which can be very small
in size, including as small as a postage stamp, and easily secreted; or send it to third party
image storage sites via the Internet. Based. on my training and experience, as well as my
conversations with other experienced law enforcement officers who conduct child
exploitation investigations, I know that individuals who possess, receive, and/or distribute
child pornography by computer devices using the Internet often maintain and/or possess
the items listed in Attachment B.

16. Based on my training and experience, I also know that, with the development
of faster Internet download speed and the growth of file-sharing networks and. other

platforms through which individuals may trade child pornography, some individuals also
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have been found to download, view, and then delete child pornography on their computers
or digital devices on a cyclical and repetitive basis. However, as referenced above, evidence
of such activity, including deleted child pornography, often can be located on these
individuals’ computers and digital devices using forensic tools. Furthermore, even in
instances in which an individual engages in a cycle of downloading, viewing, and deleting
images, a selection of favorite images involving a particular child or act is often maintained
on the device.

17. Based on my training and experience, I know that within the last several years,
individuals who have asexual interest in minor children have used the Internet and Internet-
enabled devices with increasing frequency to make contact with and attempt to establish
relationships with potential child victims. These individuals may perceive that the Internet
provides some degree of anonymity and safety from prosecution. Because more and more
children are using the Internet and Internet enabled devices, these individuals potentially
expose more and more child victims to online sexual exploitation, These individuals may
contact potential child victims through social networking websites such as Facebook and.
Twitter or may engage in online conversations with children through text messaging and
email. During these online conversations, photographic images and links to Internet
websites can be easily exchanged between the individual and the targeted. child. Based on
my training and experience, I know that when such an individual uses text messaging,
email, or other websites to have online contact with children, the Internet-enabled device
used, whether it is a computer, a cellular telephone, a “smart” phone such as an Android.

device, or a tablet such as an “iPad,” often saves and maintains evidence of such contacts.
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This evidence can often be extracted and examined by a trained forensic examiner.

18. Content on smart phones and other wireless telephones and electronic devices
can also be easily transferred with the stroke of a key to other electronic devices or backed
up on cloud-based storage devices. I know from my training and experience, that individuals
often back-up their digital files on one electronic device to another, and that current
technology permits users to read, write and transfer data between devices. I have executed
search warrants where multiple electronic devices have been seized and the forensic
examination has identified back-up copies of content from wireless telephones on other
computer devices seized from the same residence. I have also executed search warrants
where child pornography was discovered on multiple devices seized from different rooms
of the same residence and purportedly primarily used by different residents within the same
home.

THE NATIONAL CENTER FOR MISSING AND EXPLOITED CHILDREN

AND CYBERTIPLINE REPORTS

19. The National Center for Missing and Exploited Children (NCMEC) is a
private, non-profit organization established in 1984 by the United States Congress.
Primarily funded by the Department of Justice, the NCMEC acts as an information
clearinghouse and resource for parents, children, law enforcement agencies, schools, and
communities to assist in locating missing children and to raise public awareness about ways
to prevent child abduction, child sexual abuse and depictions of minors engaged in sexually
explicit conduct.

20. The NCMEC CyberTipline offers a means of reporting incidents of child
19

 
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sexual exploitation, including the possession, manufacture, and/or distribution of
depictions of minors engaged in sexually explicit conduct; online enticement; child
prostitution; child sex tourism; extra familial child sexual molestation; unsolicited obscene
material sent to a child; and misleading domain names, words, or digital images.

21. Federal law requires the NCMEC to operate the CyberTipline and requires
Electronic Service Providers (ESPs) to report apparent instances of child pornography
offenses. ESPs also have the discretion to submit reports concerning planned or imminent
child pornography offenses. Companies that suspect child pornography has been stored or
transmitted on their systems report that information to the NCMEC in a CyberTipline
Report (or “CyberTip”). The ESP submits the report, which generally contains account and
log-in information, and uploads content to the NCMEC via a secure connection. Aside from
required information, such as incident type, date, and time, reporters can also fill in
voluntary reporting fields such as user or account information, IP addresses, or information
regarding the uploaded content itself, as well as other information it may have collected in
connection with the suspected criminal activity. The ESP may or may not independently
view the content of the file(s) it uploads. Using publicly available search tools, the NCMEC
then attempts to locate where the activity occurred based on the information the ESP
submits, such as IP addresses. The NCMEC then packages the information from the ESP,
along with any additional information it has, such as previous related CyberTipline Reports,
and sends it to law enforcement in the jurisdiction where the activity is believed to have

occurred.

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HASH VALUES AND HASH MATCHING

22. Based on my training and experience, my conversations with other law
enforcement officers, and information I have learned from ESPs, I know that when an ESP
- receives a complaint or other notice of suspected depictions of minors engaged in sexually
explicit conduct, they may employ a “graphic review analyst” or an equivalent employee to
open and look at the image or video file to form an opinion as to whether what is depicted
likely meets the federal criminal definition of depictions of minors engaged in sexually
explicit conduct found in 18 USC § 2256. If the employee concludes that the file contains
what appears to be depictions of minors engaged in sexually explicit conduct, a hash value
of the file can be generated by operation of a mathematical algorithm and assigned to the
image.

23. A hash value is an alphanumeric sequence that is unique to a specific digital
file. Any identical copy of the file will have exactly the same hash value as the original, but
any alteration of the file, including even a change of one or two pixels, results in a different
hash value. Consequently, an unknown image can be determined to be identical to an
original file if it has the same hash value as the original. The hash value is, in essence, the
unique fingerprint of that file, and when a match of the “fingerprint” occurs, the file also
matches.

24. The ESPs typically maintain a database of hash values of files that they have
determined to meet the federal definition of depictions of minors engaged in sexually
explicit conduct found in 18 USC § 2256. The ESPs typically do not maintain the actual

suspect files themselves; once a file is determined to contain suspected depictions of minors
21

 
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engaged in sexually explicit conduct, the file is deleted from their system. NCMEC also
maintains a database of the hash values.

25. The ESPs can then use Image Detection and Filtering Process, Photo DNA;
or a similar technology which compares the hash values of files embedded in or attached to
transmitted files against their database containing what is essentially a catalog:of hash
values of files that have previously been identified as containing suspected depictions of
minors engaged in sexually explicit conduct.

26. When the ESP detects a file passing through its network that has the same hash
value as an image or video file that was previously determined to depict minors engaged in
sexually explicit conduct, the ESP reports that fact to the NCMEC via the CyberTipline. By
statute, as described above, an ESP has a duty to report to NCMEC any apparent depictions
of minors engaged in sexually explicit conduct it discovers “as soon as reasonably possible.”

27. Because images previously determined to contain depictions of child
pornography carry a known hash value, an ESP may flag and report images in a user
account to the NCMEC without also contemporaneously reviewing the images. Based on
my training and experience and conversations with ESPs, in this situation, the ESP’s
decision to report a file to the NCMEC is made because the hash value of the reported image
is identical to the hash value of the previously reviewed. image depicting minors engaged in
sexually explicit conduct.

INDUSTRY CATEGORIZATION OF CHILD PORNOGRAPHY FILES

28. Based on my training and experience, I know that beginning in 2014, various

ESPs developed industry categories to describe some of the content depicted in the images
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reviewed by the ESPs. The ESPs will include this category, when available, when
submitting the image file to the NCMEC. The categories are described below.
Category 1 (A = prepubescent minor) and (B = pubescent minor): “Sex Act”: Any imagery
depicting sexual intercourse (including genital-genital, oral-genital, anal-genital, or oral-
anal whether between person of the same or opposite sex), bestiality, masturbation, sadistic
or masochistic abuse, degradation, or any such depiction that lacks serious literary, artistic,
political, or scientific value.
Category 2 (A = prepubescent minor) and (B = pubescent minor): “Lascivious Exhibition”:
Any imagery depicting the lascivious exhibition of the anus, genitals, or pubic area of any
person, where a minor is engaging in the lascivious exhibition or being used in connection
with sexually explicit conduct, which may include but is not limited to imagery where the
focal point is on the child’s anus, genitals, or pubic area and where the depiction is intended
or designed to elicit a sexual response in the viewer.
FACTS ESTABLISHING PROBABLE CAUSE

29. Imake this affidavit in support of a search warrant for the residence located at
529 Harrison Avenue, Orange Park, Florida 32065, “Subject Location,” that I believe to be
currently occupied by James Allen Randall and Paula Downey Randall, after conducting
physical surveillance at the Subject Location, querying the Florida Driver and Vehicle
Identification Database (DAVID), and receiving records from Clay Electric Cooperative,
Inc, This affidavit is based upon information provided to me both verbally and in written
documentation from other law enforcement officers and personnel, as well as through an

investigation that I personally conducted as set forth herein. I have personally observed the
23

 
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premises, and it appears as set forth in Attachment A.

30. HSI is investigating the use of one or more computers, wireless telephones,
and computer media at the Subject Location to commit violations of 18 U.S.C. §§ 2252 and
2252A, which prohibit the transportation, distribution, receipt, and possession of child
pornography, that is, visual depictions of one or more minors engaging in sexually explicit
conduct as defined in 18 U.S.C. § 2256.

31. During September 2022, I learned the Clay County Sheriff's Office received.
CyberTipline Report number 128064345 from the NCMEC. On September 22, 2022, I
’ received the CyberTipline Report from HSI SA Ben Luedke via email. According to the
CyberTipline Report, Microsoft Corporation reported a user for uploading multiple files
containing child exploitation material over the internet using BingImage with an IP address
that geolocated to Orange Park, Florida. Based on my training and experience, I know
BingImage (referred to as Visual Search) is a service that provides similar images to an
image provided by the user. This image can be provided either via upload or as a Uniform
Resource Locator (URL). According to Microsoft Corporation; the user uploaded one file
on June 29, 2022, at 03:55:28 UTC and a second file on June 29, 2022, at 03:55:31 UTC.

32. The CyberTipline Report states the entire contents of the files uploaded on
June 29, 2022, were not viewed by Microsoft Corporation. Based on my training and
experience, and my review of the CyberTipline Report, I learned Microsoft Corporation
identified the file as suspected child pornography based on the file’s hash value, which
matched the hash value of a previously identified image depicting a minor engaged in

sexually explicit conduct. Microsoft Corporation further categorized the file as A2,
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indicating that the file depicted a prepubescent minor engaged in lascivious exhibition. The
IP address used to upload both files was 2600:1700:ec00:4a20:30ac:3f3d:1e75:7309 and the
CyberTipline Report indicated that address geolocated to Orange Park, Florida.

33. On November 28, 2022, I applied for and obtained a federal search warrant to
view the files associated with CyberTipline Report number 128064345. Case No. 3:22-my-
1508-LLL. On November 29, 2022, I viewed the two images that were uploaded on June
29, 2022, at 03:55:28 UTC and 03:55:31 UTC and learned they were the same image. A
description of the files named /f75147-c4e9-4368-adca-e9ce9974b118.jpg and c0al2fsa-a8ad-44f8-
ac93-3aa50ada93 b.jpg is as follows:

The color image depicts two prepubescent female children who are completely
nude and lying on the floor. Both female children have brown hair and are
posing in unnatural positions. One female child is lying on her back with her
legs spread apart, thereby exposing her vagina and anus. There is a white
substance covering the female child's genitals. The second female child is lying
on her side with her head on the other female child’s torso. The female child’s
legs are spread apart, thereby exposing her vagina. The focal point of the image
appears to be the genitals of the female child who is lying on her back with her
legs spread apart. I believe the image depicts minor female children based upon
the lack of break development, lack of any pubic hair, child-like facial features,
and the overall size of their bodies. Based on my training and experience and
my review of this image, I believe it depicts at least one prepubescent minor.
engaged in sexually explicit conduct, that is, lascivious exhibition of her
genitalia, and therefore constitutes child pornography pursuant to Title 18,
United States Code, Section 2256.

34, On October 11, 2022, I caused a summons to be issued to AT&T requesting
subscriber information for IP address 2600:1700:ec00:4a20:30ac:3f3d:1e75:7309 on June
29, 2022, from 03:55:28 UTC to 03:55:31 UTC, the date and times of the upload activity
reported by Microsoft Corporation in the CyberTipline Report. The information provided

by AT&T on the same day, listed the account as active and the subscriber as Paula Randall
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residing at the Subject Location. According to AT&T, the account was created on March
11, 2011, and the account number is 110212551.

35. On October 13, 2022, I conducted research on the Subject Location and
learned by researching DAVID that James Allen Randall (since November 2019), date of
birth: XX/XX/1953, and Paula Downey Randall (since November 2019), date of birth:
XX/XX/1949, list the Subject Location as their residential address on their driver’s licenses.

36. On October 13, 2022, I conducted a query of the Property Appraiser’s Office
website in Clay County, Florida, and discovered James Allen Randall and Paula Downey
Randall are the owners of the residence located at the Subject Location.

37. On October 13, 2022, I caused a summons to be-issued to Clay Electric
Cooperative, Inc, requesting information on the residential utility account located at the
Subject Location and received return information on October 20, 2022. During my review
of the information sent by Clay Electric Cooperative, Inc., I discovered the account is in the

James A. Peanda tI
name of Paula-Randall.

38. During October 2022, I conducted visual surveillance at the Subject Location.
On October 13, 2022, I observed a dark-colored Chevrolet truck bearing Florida license
plate GDR X92. According to DAVID, the 2007 dark-colored Chevrolet truck bearing
Florida license plate GDR X92 is registered to James Allen Randall and Paula Downey
Randall at the Subject Location.

39. On January 30, 2023, I caused a summons to be issued to AT&T requesting
information on the current subscriber of service with account number 110212551. On

January 31, 2023, AT&T provided the requested information, and I reviewed it in its
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entirety. The information provided listed the account as still active with the same subscriber
information, Paula Randall, residing at the Subject Location.
40. On February 1, 2023, at approximately 5:30 a.m., I conducted visual
surveillance at the Subject Location and observed the same vehicle parked in the driveway
‘of the residence: the dark-colored Chevrolet truck bearing Florida license plate GDR X92
registered to James Allen Randall and Paula Downey Randall.
CONCLUSION
41. Based on the foregoing, I have probable cause to believe that one or more
individuals has used and is using one or more computer devices, smart phones, and/or
electronic storage media located in the residence located at 529 Harrison Avenue, Orange ~
Park, Florida 32065 more fully described in Attachment A to this affidavit to, among other
things, transport, distribute, receive, and possess child pornography. Therefore, I have
probable cause to believe that one or more individuals, using the Subject Location described
above has violated 18 U.S.C. §§ 2252 and/or 2252A. Additionally, I have probable cause
to believe that fruits, evidence, and instrumentalities of violations of 18 U.S.C. §§ 2252 and
2252A, including at least one computer device and/or other electronic storage media

containing images and/or video depicting child pornography, and the items more fully

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described in Attachment B to this affidavit (which is incorporated by reference herein), will

Mul

ASHLEY WILSON, Special Agent
Homeland Security Investigations

be located in this residence.

Sworn and subscribed to before me on this [Uday of February, 2023, at Jacksonville,
Florida.

Adocilordsoo oe
_ LAURA LOTHMAN LAMBERT
United States Magistrate Judge

 

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ATTACHMENT A
PREMISES TO BE SEARCHED

The premises to be searched is located at 529 Harrison Avenue, Orange Park,
Florida 32065 and is situated on the south side of Harrison Avenue. The premises is a
one-story, brown colored house. The dark colored front door faces north and can be
seen from Harrison Avenue. There are multiple windows on the front side of the
house. Brown-colored shingles cover the roof and there is a paved driveway on the
east side of the house leading to the garage. There is a wooden fence that encloses the
back yard. There is a dark colored mailbox in front of the house next to the driveway
with the numbers “529” written on both sides of it. The numbers “529” are written on

the curb in front of the house,

 

 
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ATTACHMENT B
DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

1, Any and all computer(s), computer hardware, computer software,
electronic storage media (including any and all disk drives, compact disks, flash drives,
cellular telephones, “smart” phones such as an Apple iPhone or a mobile device using
the Android operating system, electronic tablets such as an Apple iPad or a tablet using
the Android operating system, digital cameras and/or memory cards, or any other
device capable of electronic storage of data and/or images), computer-related
documentation, computer passwords and data-security devices, videotapes, video-
recording devices, video-recording players, and video display monitors that are or may
be used to: visually depict child pornography or child erotica; display or access
information pertaining to a sexual interest in child pornography; display or access
information pertaining to sexual activity with children; or distribute, possess, or
receive child pornography or child erotica.

2. Any and all computer software, including programs to run operating
systems, applications, such as word processing, graphics, and communications
programs peer.to peer software, that may be or are used to: visually depict child
pornography (any visual depiction of minors engaged. in sexually explicit conduct, as
defined in 18 U.S.C. § 2256(2)) or child erotica, display or access information
pertaining to a sexual interest in child pornography; display or access information
pertaining to sexual activity with children; or distribute, possess or receive child

pornography or child erotica.

 
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3, Any and all notes, documents, records, or correspondence, in any format
and medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and handwritten notes) pertaining to the possession,
transportation, or distribution of child pornography as defined in 18 U.S.C. § 2256(8)
or to the possession, transportation, or distribution of visual depictions of minors
engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

4, In any format and medium, all originals, computer files, copies, and
negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of
minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child -
erotica.

5. Any and all diaries or address books containing names or lists of names
and addresses of individuals who have been contacted by use of the computer(s) or by
other means for the purpose of distributing child pornography as defined in 18 U.S.C.
§ 2256(8) or visual depictions of minors engaged in sexually explicit conduct as defined
in 18 U.S.C. § 2256(2).

6. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and handwritten notes), identifying persons transmitting, through
interstate or foreign commerce by any means (including the United States Mail or
computer) any child pornography as defined in 18 U.S.C. § 2256(8) or any visual
depictions of minors engaged in sexually explicit conduct, as defined in 18 U.S.C. §

2256(2).

 
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7. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, other digital data files and web cache information) concerning the
distribution, receipt, transmission, or possession of child pornography as defined in 18
U.S.C. § 2256(8) or visual depictions of minors engaged in sexually explicit conduct,
as defined in 18 U.S.C. § 2256(2).

8. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files) concerning communications between
individuals about child pornography or the existence of sites on the Internet that
contain child pornography or that cater to those with an interest in child pornography.

9. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files) concerning membership in online
groups, clubs, or services that provide or make accessible child pornography to
members.

10. Any and allrecords, documents, invoices and materials, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files) that concern any accounts with an internet
service provider.

11. Any and all records, documents, invoices and materials, in any format or

medium (including envelopes, letters, papers, email messages, chat logs and electronic
3

 
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messages, and other digital data files) that concern online storage or other remote
computer storage, including software used to access such online storage or remote
computer storage, user logs or archived data that show connection to such online
storage or remote computer storage, and user logins and passwords for such online
storage or remote computer storage.

12. Any and all cameras, film, videotapes or other photographic equipment ~
capable of being used to produce, manufacture, store and/or conceal visual depictions
of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

13. Any and all address books, mailing lists, supplier lists, mailing address
labels, and any and all documents and records, in any format or medium (including
envelopes, letters, papers, email messages, chat logs and electronic messages, and
other digital data files), pertaining to the preparation, purchase, and acquisition of
names or lists of names to be used in connection with the purchase, sale, trade, or
transmission, through interstate or foreign commerce by any means (including the |
United States Mail or computer) any child pornography as defined in 18 U.S.C. §
2256(8) or any visual depiction of minors engaged in sexually explicit conduct, as
defined in 18 U.S.C. § 2256(2).

14. Any and all documents, records, or correspondence, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files), pertaining to occupancy or ownership of the

premises described above, including rental or lease agreements, mortgage documents,

 
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rental or lease payments, utility and telephone bills, mail envelopes, or addressed
correspondence.

15. Any and all diaries, notebooks, notes, and any other records reflecting
personal contact and any other activities with minors visually depicted while engaged
in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

16. Any and all documents, records,'or correspondence, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files), pertaining to the identity of any and all owners
and/or users of any computers, computer media and any electronic storage devices
discovered in the premises and capable of being used to produce, manufacture, store
and/or conceal visual depictions of minors engaged in sexually explicit conduct as
defined in 18 U.S.C. § 2256(2).

17. Any documents, records, programs or applications relating to the
existence of wiping, data elimination, and/or counter-forensic programs (and
associated data) that are designed to delete data from the subject computers and

wt

computer media.

 
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AO 93 (Rev, 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

t ee ‘ f ;
CaseNo. 3:23-mj- jO(QHO Chk

The premises located at 529 Harrison Avenue, Orange
{ Park, Florida 32065, as further described in
Attachment A

Ne ee ee Ne ee

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Middle District of Florida

 

(identify the person or describe the property to be searched and give its location):

the premises located at 529 Harrison Avenue, Orange Park, Florida 320665, as further described in Attachment A.

1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B.

YOU ARE COMMANDED to execute this warrant on or before. Tela iain. Qa. 2 “4 (not to exceed 14 days)
of in the daytime 6:00 a.m. to 10:00 p.m. Cat any time in the day or night becatise good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Laura Lothman Lambert
. (United States Magistrate Judge)

( Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

0 for days (not to exceed 30) © until, the facts justifying, the later specific date of

 

 

 

Date and time issued: Kekona roe WY, AHYLS (20 Sw Seu O He Or.

Judge's signature

City and state: Jacksonville, Florida Laura Lothman Lambert, United States Magistrate Judge

 

 

Printed name and title

 
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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.:

3:23-mj- loGer (LL

Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

Executing officer's signature

 

Printed name and title

 

 

 
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ATTACHMENT A
PREMISES TO BE SEARCHED

The premises to be searched is located at 529 Harrison Avenue, Orange Park,
Florida 32065 sud is situated on the south side of Harrison Avenue. The premises is a
one-story, brown colored house. The dark colored. front door faces north and can be
seen from Harrison Avenue. There are multiple windows on the front side of the
house. Brown-colored shingles cover the roof and there is a paved driveway on the
east side of the house leading to the garage. There is a wooden fence that encloses the
back yard. There is a dark colored mailbox in front of the house next to the driveway
with the numbers “529” written on both sides of it. The numbers “529” are written on

the curb in front of the house.

 

 
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ATTACHMENT B

 

DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

1. Any and all computer(s), computer hardware, computer software,
electronic storage media (including any and all disk drives, compact disks, flash drives,
cellular telephones, “smart” phones such as an Apple iPhone or a mobile device using
the Android operating system, electronic tablets such as an Apple iPad or a tablet using
the Android operating system, digital cameras and/or memory cards, or any other
device capable of electronic storage of data and/or images), computer-related
documentation, computer passwords and. data-security devices, videotapes, video-
recording devices, video-recording players, and video display monitors that are or may
be used to: visually depict child pornography or child. erotica; display or access
information pertaining to a sexual interest in child pornography; display or access
information pertaining to sexual activity with children; or distribute, possess, or
receive child pornography or child erotica.

2. Any and all computer software, including programs to run operating
systems, applications, such as word processing, graphics, and communications
programs pect to peer software, that may be or are used to: visually depict child

‘ pornography (any visual depiction of minors engaged in sexually explicit conduct, as
- defined in 18 U.S.C. § 2256(2)) or child erotica, display or access information
pertaining to a sexual interest in child pornography: display or access information
pertaining to sexual activity with children; or distribute, possess or receive child

pornography or child erotica.

 
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3. Any and all notes, documents, records, or correspondence, in any format
and medium (including envelopes, letters, papers, email messages, chat logs and
electronie messages, and handwritten _ notes) pertaining to the possession,
transportation, or distribution of child pornography as defined in 18 U.S.C. § 2256(8)

or to the possession, transportation, or distribution of visual depictions of minors
engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

4, In any format and medium, all originals, computer files, copies, and
negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of
minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child
erotica.

5. Any and all diaries or address books containing names or lists of names
and addresses of individuals who have been contacted by use of the computer(s) or by
other means for the purpose of distributing child pornography as defined in 18 U.S.C.
§ 2256(8) or visual depictions of minors engaged in sexually explicit conduct as defined
in 18 U.S.C. § 2256(2).

6. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, . letters, papers, email messages, chat logs and
electronic messages, and handwritten notes), identifying persons transmitting, through
interstate or foreign commerce by any means (including the United States Mail or
computer) any child pornography as defined. in 18 U.S.C. § 2256(8) or any visual
depictions of minors engaged in sexually explicit conduct, as defined in 18 U.S.C. §

2256(2).

 
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7. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, other digital data files and. web cache information) concerning the

’ distribution, receipt, transmission, Or possession of child pornography as defined in 18
U.S.C. § 2256(8) or visual depictions of minors engaged in sexually explicit conduct,
as defined in 18 U.S.C. § 2256(2).

8. Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, and other digital data files) concerning communications between
individuals about child pornography or the existence of sites on the Internet that
contain child pornography or that cater to those with an interest in child pornography.

2&9, Any and all notes, documents, records, or correspondence, in any format
or medium (including envelopes, letters, papers, email messages, chat logs and
electronic messages, ‘and other digital data files) concerning membership in online
groups, clubs, or services that provide or make accessible child pornography to

‘ memobers.

10. Any and all records, documents, invoices and materials, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files) that concern any accounts with an internet
service provider.

11. Any andall records, documents, invoices and materials, in any format or

~ medium (including envelopes, letters, papers, email messages, chat logs and electronic
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messages, and other digital data files) that concern online storage or other remote
computer storage, including software used to access such online storage or remote
computer storage, user logs or archived data that show connection to such online
storage or remote computer storage, and. user logins and passwords for such online
storage or remote computer storage.

12. Any and all cameras, film, videotapes or other photographic equipment
capable of being used to produce, manufacture, store and/or conceal visual depictions
of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256().

13. Any and all address books, mailing lists, supplier lists, mailing address
labels, and any and all documents and records, in any format or medium (including
envelopes, letters, papers, email messages, chat logs and electronic messages, and
other digital data files), pertaining to the preparation, purchase, and acquisition of
names or lists of names to be used in connection with the purchase, sale, trade, or
transmission, through interstate or foreign commerce by any means Gncinding the
United States Mail or computer) any child pornography as defined in 18 U.S.C. §
2256(8) or any visual depiction of minors engaged in sexually explicit conduct, as
defined in 18 U.S.C. § 2256(2).

14, Any and all documents, records, or correspondence, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files), pertaining to occupancy or ownership of the

premises described. above, including rental or lease agreements, mortgage documents,

 
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rental or lease payments, utility and telephone bills, mail envelopes, or addressed.
correspondence.

15. Any and all diaries, notebooks, notes, and any other records reflecting
personal contact and any other activities with minors visually depicted while engaged.
in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

16. Any and all documents, records, or correspondence, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic
messages, and other digital data files), pertaining to the identity of any and all owners

- and/or users of any computers, computer media and any electronic storage devices
discovered in the premises and capable of being used to produce, manufacture, store
and/or conceal visual depictions of minors engaged in sexually explicit conduct as
defined in 18 U.S.C. § 2256(2).

17. Any documents, records, programs or applications relating to the
existence of wiping, data elimination, and/or counter-forensic programs (and
associated data) that are designed to delete data from the subject computers and

computer media.

 
